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                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF NEW YORK


                         CASE NO. 15-CV-07433-RWS


       ------------------------------------------x
       VIRGINIA L. GIUFFRE,


                                      Plaintiff,
       v.
       GHISLAINE MAXWELL,
                                      Defendant.


       -------------------------------------------x


                                      June 20, 2016
                                      9:12 a.m.


                         C O N F I D E N T I A L
             Deposition of                          pursuant
             to notice, taken by Plaintiff, at the
             offices of Podhurst Orseck, 25 West
             Flagler Street, Suite 800, Miami, Florida,
             before Kelli Ann Willis, a Registered
             Professional Reporter, Certified Realtime
             Reporter and Notary Public within and
             for the State of Florida.
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                                                                    Page 54
  1                                        - CONFIDENTIAL
  2    BY MR. EDWARDS:
  3          Q.     When you got to his house, you were
  4    requested to give a massage?
  5                 MR. PAGLIUCA:      Object to foundation and
  6          form.
  7                 THE WITNESS:      I don't exactly remember.         I
  8          don't remember if I was asked in the kitchen.
  9          I don't remember if -- I don't remember.
 10    BY MR. EDWARDS:
 11          Q.     Massage was part of the game, though?
 12                 MR. PAGLIUCA:      Object to form and
 13          foundation.
 14                 THE WITNESS:      I don't remember.       I'm
 15          sorry.
 16    BY MR. EDWARDS:
 17          Q.     But even during this deposition today, we
 18    have described at times you giving him a massage?
 19          A.     Yes.    You're asking about my first
 20    encounter, though.
 21          Q.     Sorry, I'm just trying to sum up the whole
 22    thing.
 23          A.     Okay.
 24          Q.     Was massage part of the lure to get you
 25    specifically to his house?
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                                                                    Page 55
  1                                        - CONFIDENTIAL
  2          A.     Yes.
  3                 MR. PAGLIUCA:      Object to form and
  4          foundation.
  5    BY MR. EDWARDS:
  6          Q.     And at the time, you are 15, 16 or 17
  7    years old?
  8                 MR. PAGLIUCA:      Object to form and
  9          foundation.
 10                 THE WITNESS:      Yes.
 11    BY MR. EDWARDS:
 12          Q.     No massage experience?
 13          A.     No.
 14          Q.     You were told to bring other girls to his
 15    house?
 16                 MR. PAGLIUCA:      Object to form and
 17          foundation.
 18                 THE WITNESS:      After a while, yes.
 19    BY MR. EDWARDS:
 20          Q.     These massages were turned sexual by
 21    Jeffrey, as opposed to by anyone else?
 22          A.     Jeffrey took my clothes off without my
 23    consent the first time I met him.
 24          Q.     The massages were scheduled by people
 25    working for Jeffrey?
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                                                                    Page 56
  1                                        - CONFIDENTIAL
  2           A.    I don't recall.
  3                 MR. PAGLIUCA:      Object to form and
  4           foundation.
  5    BY MR. EDWARDS:
  6           Q.    Jeffrey Epstein, during these massages,
  7    would use sex toys or have sex toys used?
  8                 MR. PAGLIUCA:      Object to form and
  9           foundation.
 10                 THE WITNESS:      Well, at that point, it's no
 11           longer a massage.       Something else is going on.
 12           But, yes, he would take out adult toys and
 13           different things.
 14    BY MR. EDWARDS:
 15           Q.    While you were a teenager, Jeffrey Epstein
 16    asked you to live with him?
 17           A.    Yes.   He wanted me to be emancipated.
 18           Q.    Jeffrey Epstein encouraged girl-on-girl
 19    sex?
 20                 MR. PAGLIUCA:      Object to form and
 21           foundation.
 22                 THE WITNESS:      Yes.
 23    BY MR. EDWARDS:
 24           Q.    And after you cooperated with the police,
 25    you were intimidated by people working for Jeffrey
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                                                                    Page 57
  1                                          - CONFIDENTIAL
  2    Epstein?
  3                 MR. PAGLIUCA:      Object to form and
  4          foundation.
  5                 THE WITNESS:      Yes.
  6                 MR. EDWARDS:      All right.     I don't have
  7          anything further for you.           I apologize that we
  8          even had to go through this, all right?
  9                 THE WITNESS:      Okay.
 10                        E X A M I N A T I O N
 11    BY MR. PAGLIUCA:
 12          Q.     Ms.       , by name is Jeff Pagluica.          I
 13    live in Denver, Colorado.          And, like you, I don't
 14    want to be here today either, okay?            I would rather
 15    be in Denver.
 16                 I just want to -- as I understand it, and
 17    I'm not trying to get into any of your treatment
 18    over the last, let's say, 10 years, because I don't
 19    know how long it's been, but as I understand what
 20    you and your lawyer have said here today, you have
 21    been involved in some number of years of therapy, in
 22    which the purpose -- part of the purpose of the
 23    therapy has been to forget all of these events that
 24    Mr. Edwards was asking you questions about; is that
 25    correct?
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  1                                - CONFIDENTIAL
  2                     CERTIFICATE OF OATH
  3    STATE OF FLORIDA       )
  4    COUNTY OF MIAMI-DADE   )
  5
                    I, the undersigned authority, certify that
  6                       personally appeared before    me and
           was duly sworn.
  7                 WITNESS my hand and official seal     this
           23rd day of June, 2016.
  8
  9
                       Kelli Ann Willis, RPR, CRR
 10                    Notary Public, State of Florida
                       Commission FF928291, Expires 2-16-20
 11             + + + + + + + + + + + + + + + + + +
 12                         CERTIFICATE
 13    STATE OF    FLORIDA )
 14    COUNTY OF MIAMI-DADE )
 15                I, Kelli Ann Willis, Registered
          Professional Reporter and Certified Realtime
 16       Reporter do hereby certify that     I was
          authorized to and did stenographically report the
 17       foregoing deposition of                 that a
          review of the transcript was not requested; and
 18       that the transcript is      a true record of my
          stenographic notes.
 19                I FURTHER CERTIFY that I am not a
          relative, employee, attorney, or counsel of    any
 20       of the parties, nor am I a relative or employee of
          any of the parties' attorney or counsel connected
 21       with the action, nor am I financially interested
          in the action.
 22                Dated this 23rd day of June, 2016.
 23
 24                              KELLI ANN WILLIS, RPR, CRR
 25
